    Case 1:19-md-02915-AJT-JFA Document 2286 Filed 02/16/24 Page 1 of 4 PageID# 50110

February 12, 2024

Judge Anthony J. Trenga
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
                                                                                  ""FR 'H 2024
Alexandria, VA 22314

Dear Honorable Trenga,

I hope this message finds you well.

I am writing to respectfully request your reconsideration in reissuing a check from the Capitol One Settlement related to
the Capital One Consumer Data Security Breach Litigation, MDL No l:19md2915 (AJT/JFA). Although it is past the court-
mandated deadline, I hope you will make an exception after hearing my story.

When I received the settlement offer, I opted to receive a check mailed to me without my apartment number. 1 believe
it was returned to the Issuer and resent to me again without the apartment number. It ended up in my neighbor's
mailbox, and I did not receive it until February 5,11 days after the deadline to reissue the check had passed. I
immediately contacted the Settlement Administrator on February 6, but they could not help me. Therefore, I am
contacting you directly in the hope that you will reconsider my request.

As a single, middle-aged Latina who started her own business in 2020, the $707.31 award would significantly impact my
life. I support myself and help care for my elderly parents, who live in California, and I employ a part-time assistant who
helps me with my business. The money would help me cover expenses crucial to my daily life.

Here are some examples:

        1.5 round-trip airline tickets to California to care for my parents.
        Five months' worth of groceries
        2.5 months of utilities
        One month's partial rent
        A year's worth of dog food.

I submitted all the required documentation to qualify for the claim and was awarded the settlement. It was a clerical
error that prevented me from cashing the check, and I hope you can understand that It was beyond my control. I have
included a photocopy of the required documentation for your review. There are two copies — one is a copy of the
original letter that includes my notes and a cleaner version for your review. A copy of the mailing envelope is also
included. I have also emailed this letter to you at Anthony_Trenga@vaed.uscourts.gov.

In conclusion, I am kindly requesting your reconsideration in reissuing the check. It would make a significant difference
in my life, and I would be forever grateful for your understanding and assistance. Thank you in advance for your kind
consideration.


All my best,
Lisa Labrado
59 Scholes Street, #207
Brooklyn, NY 11206
917.399.5120
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CAPITAL ONE SETTLEMENT
PC BOX 4199
PORTLAND OR 97208-4199

                                                                                    CHECK DATE:                         DECEMBER 14. 2023
                                                                                    CHECK NUMBER:                                           928044
                                                                                    CHECK AMOUNT:                                           $707.31
                                                                                    TRACKING NUMBER:                                  60520881
     •400551821434876953*'
     000 0002734 00000000 0001 0001 02734 INS: 00
     LISA LABRAbO
     59 SCHOLES ST
     BROOKLYN NY 11206-1839




Dear Lisa Labrado,
                                                                                                              —                 O


This check is issued pursuant to the terms of the class action Settlement in the matter entitled /n re; Capital One
Consumer Data Security Breach Litigation, MDL No 1:19md2915 (AJT/JFA). You submitted a claim for a settlement
award and the Settlement Administrator has determined it was timely and valid. After reviewing your claim and all
supporting documentation, the Settlement Administrator has determined this to be the final amount you are entitled to
receive for your claim under the terms of the Settlement. The enclosed check constitutes full satisfaction of your claim.
The enclosed check is only valid until January 26, 2024. Please deposit promptly.
If you have any questions about your award, please contact the Settlement Administrator at 1-855-604-1811, or
payments@CapitalOneSettlement.com. or P.O. Box 4518, Portland. OR 9^08:4518.
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CAPITAL ONE SETTLEMENT
PO BOX 4199                                                              The Hunfingtdri Waticm
                                                                                                                                                440
PORTLAND OR 97208-4199                                                        CHECK NUMBER                             DATE
                                                                                   928044                           12/14/2023

                                                    Void if not negotiated by January 26. 2024.
        PAY EXACTLY          **********
                                          SEVEN HUNDRED SEVEN AND 31/100 DOLLARS
                                                                                                             AMOUNT
PAY TO THE ORDER OF:                                                                                          $707.31
LISA LABRADO                                                                              This check may not be cashed at a check cashing
                                                                                                  agency or money service business.




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CAPITAL ONE SETTLEMENT
PC BOX 4199
PORTLAND OR 97208-4199

                                                                        CHECK DATE;                        DECEMBER 14, 2023
                                                                        CHECK NUMBER:                                        928044
                                                                        CHECK AMOUNT:                                        $707.31
                                                                        TRACKING NUMBER:                                  60520881
     •400551821434876953*
     000 0002734 00000000 0001 0001 02734 INS:00
      LISA LABRADO
     59SCHOLES ST
      BROOKLYN NY 11206-1839
                                                                                              ^^0 \




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CAPITAL ONE SETTLEMENT                                       The Huntington National Bank                                        25-2
PO BOX 4199                                                                                                                       440

PORTLAND OR 97208-4199                                            CHECK NUMBER                             DATE
                                                                       928044                           12/14/2023


                                        Void if not negotiated by January 26, 2024.
         PAY EXACTLY              SEVEN HUNDRED SEVEN AND 31/100 DOLLARS
                                                                                                 AMOUNT
                                                                                                  $707.31
PAY TO THE ORDER OF;
                                                                               This check may not be cashed at a check cashing
LISA LABRADO                                                                          agency or money service business.




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          FIRST CLASS
          PRESORTED
